Case: 1:14-cr-00438-BYP Doc #: 49 Filed: 06/12/15 1 of 3. PageID #: 199



 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 1:14-CR-438-1
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 RYAN D. MALONE,                                  )
                                                  )
                Defendant.                        )     ORDER



        This matter is before the Court upon Magistrate Judge George J. Limbert’s Report and

 Recommendation (“R&R”) that the Court accept Defendant Ryan D. Malone’s (“Defendant”)

 plea of guilty and enter a finding of guilty against Defendant. ECF No. 35.

        On December 9, 2014, the Government filed an Indictment against Defendant alleging

 violations of 18 U.S.C. §§ 922(g)(1) and 924(a)(2), felon in possession of firearm or

 ammunition. ECF No. 1. Thereafter, Defendant notified the Court of Defendant’s intent to

 enter a plea of guilty. ECF No. 25. The Court issued an order referring the matter to Magistrate

 Judge Limbert for the purpose of receiving Defendant’s guilty plea. ECF No. 28.

        On March 6, 2015, Magistrate Judge Limbert held a hearing during which Defendant

 consented to the order of referral (ECF No. 34) and entered a plea of guilty as to Count 1 of the

 Indictment. Magistrate Judge Limbert received Defendant’s guilty plea and issued a Report

 recommending that this Court accept Defendant Ryan D. Malone’s plea and enter a finding of

 guilty. ECF No. 35.

        The time limitation to file objections to the Magistrate Judge’s Report and
Case: 1:14-cr-00438-BYP Doc #: 49 Filed: 06/12/15 2 of 3. PageID #: 200



 (1:14-CR-438-1)


 Recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel—and if necessary have the court appoint
         counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine adverse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to compel the attendance of
         witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,

 that in his careful and thorough proceeding, Magistrate Judge Limbert satisfied the requirements

 of Fed. R. Crim. P. 11 and the United States Constitution. Defendant was placed under oath and

 determined to be competent to enter a plea of guilty. Defendant was made aware of the charges

 and consequences of conviction and his rights and waiver thereof. Magistrate Judge Limbert also

 correctly determined that Defendant had consented to proceed before the magistrate judge and


                                           2
Case: 1:14-cr-00438-BYP Doc #: 49 Filed: 06/12/15 3 of 3. PageID #: 201



 (1:14-CR-438-1)


 tendered his plea of guilty knowingly, intelligently and voluntarily. Furthermore, the magistrate

 judge also correctly found that there was an adequate factual basis for the plea.

        Upon de novo review of the record, the Report and Recommendation is adopted.

 Therefore, Defendant Ryan D. Malone is adjudged guilty of Count 1 of the indictment, felon in

 possession of firearm or ammunition, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).



        IT IS SO ORDERED.


   June 12, 2015                               s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




                                          3
